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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


SONOS, INC.,

               Plaintiff,

      vs.                                Case No. 6:20-cv-00881-ADA
GOOGLE LLC,

               Defendant.



         DECLARATION OF LINDSAY COOPER IN SUPPORT OF
   GOOGLE LLC’S MOTION TO TRANSFER PURSUANT TO 28 U.S.C. § 1404(a)
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       I, Lindsay Cooper, declare and state as follows:

       1.       I am a partner at Quinn Emanuel Urquhart & Sullivan, LLP representing Google

LLC (“Google”) in this matter. If called as a witness, I could and would testify competently to

the information contained herein.

       2.       Attached hereto as Exhibit 1 is a true and correct copy of a November 14, 2013

agreement between Google and Sonos.

       3.       Attached hereto as Exhibit 2 is a true and correct copy of a July 16, 2013

agreement between Google and Sonos.

       4.       Attached hereto as Exhibit 3 is a true and correct copy of a Google calendar invite

for a June 5, 2014 event in the San Francisco Bay Area.

       5.       Attached hereto as Exhibit 4 is a true and correct copy of the LinkedIn Profile of

Joni Hoadley.

       6.       Attached hereto as Exhibit 5 is a true and correct copy of the LinkedIn Profile of

Robert Lambourne.

       7.       Attached hereto as Exhibit 6 is a true and correct copy of the Westlaw Public

Records Report of Arthur Coburn IV.

       8.       Attached hereto as Exhibit 7 is a true and correct copy of a December 23, 2010

agreement between Google and Sonos.

       9.       Attached hereto as Exhibit 8 is a true and correct copy of a January 18, 2013

agreement between Google and Sonos.

       10.      Attached hereto as Exhibit 9 is a true and correct copy of a December 14, 2015

agreement between Google and Sonos.

       11.      Attached hereto as Exhibit 10 is a true and correct copy of an April 18, 2015

agreement between Google and Sonos.


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       12.      Attached hereto as Exhibit 11 is a true and correct copy of U.S. Patent No.

8,239,559.

       13.      Attached hereto as Exhibit 12 is a true and correct copy of U.S. Patent No.

8,797,926.

       14.      Attached hereto as Exhibit 13 is a true and correct copy of U.S. Patent

Application Publication No. 2008/0120501 A1.

       15.      Attached hereto as Exhibit 14 is a true and correct copy of U.S. Patent No.

7,720,686.

       16.      Attached hereto as Exhibit 15 is a true and correct copy of European Patent No.

2986034B1.

       17.      Attached hereto as Exhibit 16 is a true and correct copy of U.S. Patent No.

6,731,760.

       18.      Attached hereto as Exhibit 17 is a true and correct copy of the LinkedIn Profile of

Ravi Rajapakse.

       19.      Attached hereto as Exhibit 18 is a true and correct copy of the LinkedIn Profile of

Philip Kearney.

       20.      Attached hereto as Exhibit 19 is a true and correct copy of the LinkedIn Profile of

Robert Newberry.

       21.      Attached hereto as Exhibit 20 is a true and correct copy of the LinkedIn Profile of

David Heller.

       22.      Attached hereto as Exhibit 21 is a true and correct copy of the LinkedIn Profile of

Jan Jannink.

       23.      Attached hereto as Exhibit 22 is a true and correct copy of the LinkedIn Profile of

Timothy E. McGraw.


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       24.       Attached hereto as Exhibit 23 is a true and correct copy of the webpage

https://www.pandora.com/static/careers/location-oak.html.

       25.       Attached hereto as Exhibit 24 is a true and correct copy of the LinkedIn Profile of

Andrew Volk.

       26.       Attached hereto as Exhibit 25 is a true and correct copy of the Westlaw Public

Records Report of Erik Reed.

       27.       Attached hereto as Exhibit 26 is a true and correct copy of the webpage

https://www.dolby.com/about/support/dolby-offices-worldwide/#americas.

       28.       Attached hereto as Exhibit 27 is a true and correct copy of the LinkedIn Profile of

Alan Seefeldt.

       29.       Attached hereto as Exhibit 28 is a true and correct copy of the LinkedIn Profile of

Jan Abildgaard Pedersen.

       30.       Attached hereto as Exhibit 29 is a true and correct copy of Sonos’s Reply Brief in

Support of Its Motion To Dismiss Or Transfer to the Western District of Texas filed in Google

LLC v. Sonos, Inc., No. 3-20-cv-06754 (N.D. Cal. Sep. 28, 2020).

       31.       Attached hereto as Exhibit 30 is a true and correct copy of the webpage

https://www.sonos.com/en-us/contact.

       32.       Attached hereto as Exhibit 31 is a true and correct copy of the webpage

https://www.flightconnections.com/flights-to-waco-act, which reflects the results of a search for

direct flights to Waco, Texas.

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       33.     Attached hereto as Exhibit 32 is a true and correct copy of the results of a search

on https://www.google.com/travel/flights for flights between Santa Barbara, California and San

Francisco, California.



       I declare under penalty of perjury that to the best of my knowledge the foregoing is true

and correct. Executed on January 8, 2021, in San Francisco, California.



                                                  /s/ Lindsay Cooper
                                                  Lindsay Cooper




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